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12                             UNITED STATES DISTRICT COURT
13                                     DISTRICT OF NEVADA
14 SWITCH, LTD., a Nevada limited liability               CASE NO.:      2:17-cv-02651-GMN-VCF
   company,
15                                                        STIPULATED AMENDED
                       Plaintiff,                         DISCOVERY PLAN AND
16
                                                          SCHEDULING ORDER
17 vs.

18 STEPHEN FAIRFAX; MTECHNOLOGY; and
   DOES 1 through 10; ROE ENTITIES 11 through
19 20, inclusive,
20                          Defendants.
21

22          As the stay of this matter has now expired, counsel for Plaintiff SWITCH, LTD. (“Plaintiff”)

23 and Defendants STEPHEN FAIRFAX and MTECHNOLOGY (“Defendants”) hereby submit this

24 Stipulated Amended Discovery Plan and Scheduling Order in compliance with LR 26-1(b), as follows:

25          1.     Meeting. Pursuant to Fed. R. Civ. P. 26(f) and LR 26-1, the early case conference was

26 held on June 12, 2019, at 12:00 p.m., and was attended by Samuel Castor, Esq., and Anne-Marie Birk,

27 Esq., counsel for Plaintiff, and Ronald Green, Esq., counsel for Defendants.

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 1          2.      Pre-Discovery Disclosures. The parties exchanged the information required by LR

 2 26-1(a)(2) on or about June 24, 2018, following their initial conference pursuant to Fed. R. Civ. P.

 3 26(f).

 4          3.      Discovery Plan. The parties jointly propose to the Court the following discovery plan:

 5                  a.       Subject of Discovery. Discovery will be needed on the following subjects:

 6 Discovery will be needed on the issues raised by the complaint and the answer thereto.

 7                  b.       Discovery Cut-Off Date. The last day for discovery shall be December 9,

 8 2019 (180 days from the date of the mandatory Fed. R. Civ. P. 26(f) conference). This does not exceed

 9 the presumptive outside limits LR 26-1(b)(1) sets for completing discovery.

10                  c.       Fed. R. Civ. P. 26(a)(2) Disclosures (Experts). Disclosure of experts shall

11 proceed according to Fed. R. Civ. P. 26(a)(2) and Fed. R. Civ. P. 33, except that:

12                           i.      The disclosure of experts and expert reports shall occur on or before

13                                   October 10, 2019, which is sixty (60) days before the discovery cut-

14                                   off date, and

15                           ii.     The disclosure of rebuttal experts and their reports shall occur on or

16                                   before November 8, 2019, which is thirty (30) days before the

17                                   discovery cut-off date.

18                  d.       Amending the Pleadings and Adding Parties. The parties shall have until

19 September 10, 2019, ninety (90) days before the discovery cut-off date, to file any motions to amend
20 the pleadings or to add parties. This date does not exceed the outside limit presumptively set by LR

21 26-1(b)(2).

22                  e.       Interim Status Report. The parties shall file the interim status report required

23 by LR 26-3 on October 10, 2019. The undersigned counsel certify that they have read LR 26-3 and

24 that the due date for the interim report is agreed not to be later than sixty (60) days before the

25 discovery cut-off date.

26                  f.       Dispositive Motions. The parties shall have until January 8, 2020, thirty

27 (30) days after the discovery cut-off date, to file dispositive motion(s), which does not exceed the

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 1 outside limit of thirty (30) days following the discovery cut-off date that LR 26-1(b)(4) presumptively

 2 sets for filing dispositive motions.

 3                  g.         Pretrial Order. The pretrial order shall be filed on February 7, 2020, thirty

 4 (30) days after the date set for filing dispositive motions in the case. This deadline is suspended if a

 5 dispositive motion is timely filed. The disclosures Fed. R. Civ. P. 26(a)(3) requires shall be made in

 6 the joint pretrial order.

 7                  h.         Extensions or Modifications of the Discovery Plan and Scheduling Order. LR

 8 26-4 governs modifications or extensions of this discovery plan and scheduling order. Any stipulation

 9 or motion must be made no later than November 18, 2019, 21 days prior to the expiration of the

10 subject discovery deadline and comply fully with LR 26-4.

11          4.      Justification for Longer Discovery Period.

12                  a.         Defendants’ Statement: Defendants do not request a longer time period for

13 discovery at this time.

14                  b.         Plaintiff’s Statement: Plaintiff does not request a longer time period for

15 discovery at this time.

16          5.      Additional Issues.

17                  a.         Alternative Dispute Resolution: Pursuant to LR 26-1(b)(7), the parties have

18 met and conferred about the possibility of using alternative dispute resolution processes. Both parties

19 are amenable to the possibility of attending a mediation or settlement conference in the future but
20 would like to wait to address that question until after some discovery has taken place. The parties

21 may request a settlement conference from the Court at that time, if necessary.

22                  b.         Alternative Forms of Case Disposition: Pursuant to LR 26-1(b)(8), the parties

23 certify that they have considered consent to trial by a magistrate judge under 28 U.S.C. § 636(c) and

24 Fed. R. Civ. P. 73 and the use of the Short Trial Program. The parties do not consent to either at this

25 time.

26                  c.         Electronic Evidence: Pursuant to LR 26-1(b)(9), the parties certify that they

27 have discussed the possibility of presenting evidence to the jury in electronic format. In the event

28 that any electronic evidence is submitted by either party, the parties understand that such evidence

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 1 must be submitted in a format that is compatible with the Court’s electronic jury evidence display

 2 system. The parties will consult the Court’s website or contact the courtroom administrator for

 3 instructions about how to prepare evidence in a format that meets these requirements.

 4                 d.     Court Conference: The parties do not request a conference with the Court

 5 before entry of the scheduling order.

 6         IT IS SO STIPULATED.

 7 DATED this _ 26th day of June, 2019.             DATED this _ 26th day of June, 2019.

 8 SWITCH, LTD.                                         RANDAZZA LEGAL GROUP, PLLC
 9

10
     /s/: Anne-Marie Birk                               /s/: Ronald D. Green
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19
20                                              ORDER

21         IT IS SO ORDERED.

22                                         _____________________________________
                                           UNITED STATES MAGISTRATE JUDGE
23

24                                         _____________________________________
                                           DATED
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